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                                   4                                 UNITED STATES DISTRICT COURT

                                   5                              NORTHERN DISTRICT OF CALIFORNIA

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                                   7    IN RE: CATHODE RAY TUBE (CRT)                      MDL No. 1917
                                        ANTITRUST LITIGATION
                                   8                                                       Case No. C-07-5944 JST

                                   9
                                        This Order Relates To:                             ORDER RE MOTION TO SHORTEN
                                  10                                                       TIME AND ORDER TO SHOW CAUSE
                                  11    ALL INDIRECT PURCHASER ACTIONS
                                  12
Northern District of California
 United States District Court




                                  13          Now before the Court is Objector Douglas W. St. John’s motion to shorten time to hear his

                                  14   motion to amend the order appointing Special Master Martin Quinn. ECF Nos. 4204 (motion to

                                  15   shorten time); 4203 (motion to amend order of appointment); 4077 (order of appointment).

                                  16          St. John first appeared in the case on October 8, 2015 when he filed his objection to the

                                  17   Indirect Purchaser Plaintiffs’ motion for award of attorneys’ fees and a conditional objection to

                                  18   their motion for settlement. ECF No. 4106. At the time he filed his objection, he was on notice

                                  19   regarding the terms of the Special Master’s Order of Appointment, which was entered in

                                  20   September 2015. Nonetheless, St. John waited 43 days after objecting to file his motion for an

                                  21   order shortening time. On these facts, St. John fails to show the good cause required for an order

                                  22   shortening time to the extent he seeks.

                                  23          The Court will shorten time slightly, however, so that the underlying motion to amend can

                                  24   be heard on December 15, 2015 as part of the case management conference scheduled on that date.

                                  25   See ECF No. 4164. Having read St. John’s motion to amend, the Court is considering (among

                                  26   other possibilities) amending the final sentence of Paragraph Seven of the Special Master’s order

                                  27   of appointment to add the phrase, “, subject to reallocation by the Court.” See Fed. R. Civ. P.

                                  28   53(g) (“the court must fix the master's compensation on the basis and terms stated in the
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                                   1   appointing order, but the court may set a new basis and terms after giving notice and an

                                   2   opportunity to be heard”); Aird v. Ford Motor Co., 86 F.3d 216, 221 (D.C. Cir. 1996), amended

                                   3   (Aug. 12, 1996) (“the district court enjoys broad discretion to allocate the master's fees as it thinks

                                   4   best under the circumstances of the case”). The parties should be prepared to address this proposal

                                   5   as well as any other arguments raised in St. John’s motion or in oppositions thereto.

                                   6           Oppositions to St. John’s motion to amend are due by December 4, 2015 and are limited to

                                   7   10 pages of text. Where parties or objectors have the same interests or seek the same outcome, the

                                   8   Court orders parties and objectors to consolidate their responses to the maximum extent possible.

                                   9   St. John may, but is not required to, file a reply brief of not more than 5 pages by December 10,

                                  10   2015.

                                  11           IT IS SO ORDERED.

                                  12   Dated: November 23, 2015
Northern District of California
 United States District Court




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                                                                                                       JON S. TIGAR
                                  14                                                             United States District Judge

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